                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Case No. 10-00332-02-CR-W-BCW
                                              )
TERESA BROWN,                                 )
                                              )
                       Defendant.             )


                             REPORT AND RECOMMENDATION

       On June 15, 2011, the Grand Jury returned a twenty-count Superseding Indictment against

Teresa Brown and eleven other defendants. Defendant Brown is charged with one count of

conspiracy to commit the crimes of securities fraud and wire fraud, one count of securities fraud and

six counts of wire fraud.

       On June 20, 2012, counsel for defendant Brown filed a Motion for Determination of Mental

Competency, pursuant to 18 U.S.C. § 4241, asking that defendant undergo an outpatient psychiatric

or psychological examination and that a report be filed with the Court regarding the defendant’s

ability to understand the proceedings presently pending against her and to properly assist in her own

defense (doc #203). On August 17, 2012, the Court ordered that defendant undergo a psychiatric

or psychological examination by Dr. Brian Skop to determine her ability to stand trial (doc #223).

       On September 6, 2012, Dr. Skop’s report was filed with the Court. The report concluded:

       The present examination supports a court determination that Ms. Brown is currently
       competent to stand trial. While she has depression and anxiety complaints, these do
       not appear to be negatively impacting her motivation for her defense or her
       understanding of her legal situation. She appears to have the present capacity to
       consult with her attorney with a reasonable degree of rational understanding, and she
       appears to have a rational and factual understanding of the proceedings against her.




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(doc #228 at 7)

       On September 17, 2012, defendant Brown filed a Stipulation to Facts and Findings of

Psychiatric Evaluation Report and Waiver of Competency Hearing (doc #234). The Stipulation

states that defendant Brown “stipulates to the facts and findings of the forensic psychiatric

evaluation report opining that ‘Ms. Brown is currently competent to stand trial.’” (Id. at 1) The

Stipulation further states: “Given Dr. Skop’s findings, Ms. Brown submits that a competency

hearing, conducted pursuant to 18 U.S.C. § 4247, is simply not necessary at this time. Ms. Brown

expressly adopts the facts and findings of the report and waives the competency hearing.” (Id. at

2)

       The only evidence before the Court on the issue of defendant’s competency to stand trial is

the report of Dr. Brian Skop. As set forth above, Dr. Skop’s “examination supports a court

determination that Ms. Brown is currently competent to stand trial.” (doc #228 at 7)

       Based upon the information before the Court, it is

       RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order finding that defendant Teresa Brown is not currently suffering from

a mental disease or defect which would prevent her from understanding the nature and consequences

of the proceedings against her or assisting in her defense and that she is competent to stand trial.

       Counsel are reminded they have fourteen days from the date of this Report and

Recommendation within which to file and serve objections. A failure to file and serve timely

objections shall bar an attack on appeal of the factual findings in this Report and Recommendation




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which are accepted or adopted by the district judge, except on grounds of plain error or manifest

injustice.

                                                            /s/ Sarah W. Hays
                                                            SARAH W. HAYS
                                                   UNITED STATES MAGISTRATE JUDGE




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